
BARKDULL, Chief Judge
(concurring in part; dissenting in part).
I concur in the majority opinion as it relates to Count I of the complaint; however, I respectfully dissent from that portion of the majority opinion which reinstates Count II of the complaint. I would affirm the dismissal as to this count also, except that I would modify it to make it without prejudice.
There are no assets in the State of Florida to be administered by the ancillary administrator. The dividend fund is in the State of New York; the decedent, at the time of his death, was a resident of Cuba; the purported heirs are in Venezuela; the cause of action, if any, is in the personal representative of the deceased’s estate or the purported heirs; the plaintiff is improper and this forum is improper.
